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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

LORI CALLANDER,                                   )
                                                  )
                Plaintiff,                        )
                                                  )
v.                                                )       No. 4:16-CV-01697-JMB
                                                  )
PENNYMAC LOAN SERVICES, LLC,                      )
                                                  )
                Defendants.                       )

                                   MEMORANDUM OF LAW

                                     I.   INTRODUCTION

       Plaintiff was asked by this Court to brief the issue concerning the applicability of 28

USC § 2283, the Anti-Injunction Act, in this matter. Plaintiff requested that this Court enter

an order staying or enjoining Defendant or any agent, representative or party acting through

Defendant from proceeding to have Plaintiff removed from her home at 14 Claiborne, St. Louis,

MO 63119 (hereinafter “Claiborne”). This Court has expressed concern that the Anti-Injunction

Act precludes this Court from staying the unlawful detainer action currently pending in state

court or from staying the Defendant from having Plaintiff removed from her home.

     II.     STATEMENT OF RELEVANT FACTS AND PROCEDURAL HISTORY

           Plaintiff fell behind in mortgage payments to Defendant in 2015. Defendant caused a

notice to be sent to Plaintiff advising that Claiborne was scheduled for foreclosure on May

31, 2016. On May 20, 2015, as a result of receiving notice of foreclosure, Plaintiff

contacted Defendant and requested a reinstatement quote. Plaintiff was advised that she

needed to contact Millsap & Singer, LLC to obtain a reinstatement quote. On May 21,

2016, Plaintiff contacted Millsap & Singer, LLC and left a message asking what she needed



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to do to keep from being foreclosed upon. Plaintiff subsequently contacted Millsap &

Singer, LLC and Defendant on numerous occasions to obtain a reinstatement quote and

attempted to pay Defendant all the amounts due and owing to prevent foreclosure of

Claiborne. Plaintiff had sufficient funds available to her at the time of foreclosure to bring

her mortgage loan current, but was prevented from curing the default in mortgage payment

because Defendant refused to provide Plaintiff with a reinstatement quote or accept tendered

funds. Defendant foreclosed on Clairborne on May 31, 2016 without ever providing

plaintiff a reinstatement quote. Defendant’s refusal to provide Plaintiff with a reinstatement

quote or accept tendered funds is the nexus of Plaintiff’s Complaint.

       Defendant filed an Unlawful Detainer in Associate Circuit Court, State of Missouri

and obtained an order for possession on September 14, 2016. On October 17, 2016, Plaintiff

was served with a Notice to Vacate by 8:00 am on October 24, 2016. In response to the

Notice to Vacate Plaintiff filed a four count Complaint in the Circuit Court of St. Louis

County, State of Missouri on October 18, 2016 as follows: Count I - Count I – Stay Unlawful

Detainer or in the Alternative Request for a Permanent , Count II - Wrongful Foreclosure,

Count III - Violation of the Missouri Merchandising Practices Act and Count IV – Breach Of

Contract. On October 20, 2016, Plaintiff obtained a Temporary Restraining Order (hereinafter

“TRO”) preventing Defendant from removing Plaintiff from Claiborne. The TRO was effective

for 15 days. Defendant removed this action to federal court on November 1, 2016 on the basis of

diversity of citizenship and the amount in controversy. A federal question is not currently

pending before this court. After removal to federal court the TRO was extended to October 18,

2016 by consent. This matter came before this court on November 15, 2016 on Plaintiff’s

Motion for Preliminary Injunction.



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                             III. THE ANTI-INJUNCTION ACT

       28 USC § 2283 provides “[a] court of the United States may not grant an injunction to

stay proceedings in a State court…”     There are three exceptions to this prohibition: 1)

“except as expressly authorized by Act of Congress;” 2) “where necessary in aid of its

jurisdiction;” or 3) “to protect or effectuate its judgments.” If one of the statutory exceptions to

the Anti-injunction Act applies then 28 USC § 1651, All-Writs Act, permits the federal court

to enjoin a state court proceeding. Plaintiff agrees that her request for a Preliminary

Injunction fails to fall within one of the narrow exceptions to the Anti-injunction act.

IV. PLAINTIFF’S COMPLAINT SHOULD BE REMANDED TO STATE COURT

       A. The Younger Abstention Doctrine Requires Remand.

       The three requirements of the younger Abstention Doctrine “as refined by Middlesex

County Ethics Committee v. Garden State Bar Association, 457 U.S. 423, 432, 102 S.Ct.

2515 2521, 73 L.Ed.2d 116 (1982)…” are “…that important state interests were involved, that

there were ongoing state judicial proceedings, and that there existed an adequate opportunity in

the state proceedings to raise the constitutional challenges.” Alleghany Corp. v. McCartney, 896

F.2d 1138, 1141 (C.A.8 (Neb.), 1990). The significant issue is whether the state “has a

substantial, legitimate interest…” and “the overall importance of the proceedings to the state.”

Id. at 1444. The federal court “will not unduly interfere with the legitimate activities of the

States.” Younger v. Harris, 401 U.S. 37, 44, 91 S.Ct. 746, 27 L.Ed.2d 669 (1971). This district

determined that the Younger Abstention Doctrine applies in cases similar to Plaintiff’s case. See

Boyer v. Scott Bros. Inv. Corp. 4:11CV1173 HEA (E.D. Mo., 2011).

     The applicability of the Younger Abstention Doctrine in this case is even more critical in

light of the Missouri Supreme Court decisions in Wells Fargo Bank, N.A. v. Smith, 392 S.W.3d



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446 (Mo., 2013) and Fed. Nat'l Mortg. Ass'n v. Wilson (Mo. App., 2013) wherein the Court

instructed that Plaintiffs bringing a wrongful foreclosure action against their lender may seek a

stay of the Unlawful Detainer proceeding as part of the wrongful foreclosure action. The court

presiding over an unlawful detainer does not have the discretion to itself. American Vision

Center of St. Louis Centre, Inc. v Carr Optical, Inc. 810 S.W.2d 121, 122. (Mo.App.E.D.1991).

The only way Plaintiff can obtain the protections afforded to her by the Missouri Supreme Court

is through the Missouri State Courts. The State of Missouri has a legitimate interest in protecting

the interest of its citizens.

        B. Prior Exclusive Jurisdiction Requires Remand.

      “The prior exclusive jurisdiction doctrine holds that ‘when one court is exercising in rem

jurisdiction over a res, a second court will not assume in rem jurisdiction over the same res.’”

Chapman v. Deutsche Bank Nat'l Trust Co., 651 F.3d 1039, 1043, 11 Cal. Daily Op. Serv. 7786,

2011 Daily Journal D.A.R. 9371 (9th Cir., 2011) Marshall v. Marshall, 547 U.S. 293, 311, 126

S.Ct. 1735, 164 L.Ed.2d 480 (2006); see also Princess Lida of Thurn & Taxis v. Thompson, 305

U.S. 456, 466–67, 59 S.Ct. 275, 83 L.Ed. 285 (1939). “[W]here the jurisdiction of the state court

has first attached, the federal court is precluded from exercising its jurisdiction over the same res

to defeat or impair the state court's jurisdiction.” Kline v. Burke Const Co, 260 U.S. 226, 229, 43

S.Ct. 79, 67 L.Ed. 226, 24 A.L.R. 1077 (1922).

      In this instant case, an unlawful detainer was pending at the time Defendant removed this

matter to federal court. Plaintiff originally filed her case in state court and sought a preliminary

injunction, in the manner prescribed by the Missouri Supreme Court, to prevent her removal

from Clairborne. The res in the unlawful detainer is exactly the same as the res in this matter

currently pending before this Court. This Court is therefore precluded from continuing to



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exercise control over this matter

                                      V. CONCLUSION

     This Court is required to remand this matter back to state court under the Younger

Abstention Doctrine and the Prior Exclusive Jurisdiction. Plaintiff will be deprived of her due

process rights without remand because she will be unable to avail herself of the remedies

afforded to her under the laws of the State of Missouri. If this court refuses to remand Plaintiff’s

case back to the state court it will be denying Plaintiff her fundamental rights as afforded to her

by the State of Missouri and the Tenth Amendment of United States Constitution.



                                                  Respectfully submitted,

                                                  /s/ Angela Redden-Jansen
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                                    CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 17th day of November, 2016, a true copy of the
foregoing was filed electronically using the Court’s CM/ECF system, to be served via operation of the
Court’s electronic filing system upon Jennifer Briner.



                                                      /s/Angela Redden-Jansen




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